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10                            UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. CR 17-310-PSG

13               Plaintiff,                   PLEA AGREEMENT FOR DEFENDANT
                                              GABRIEL MARTIN REED
14                    v.

15   GABRIEL MARTIN REED,

16               Defendant.

17

18        1.     This constitutes the plea agreement between GABRIEL MARTIN
19   REED (“defendant”) and the United States Attorney’s Office for the
20   Central District of California (the “USAO”) in the above-captioned
21   case.     This agreement is limited to the USAO and cannot bind any
22   other federal, state, local, or foreign prosecuting, enforcement,
23   administrative, or regulatory authorities.
24                              DEFENDANT’S OBLIGATIONS
25        2.     Defendant agrees to:
26               a.   At the earliest opportunity requested by the USAO and
27   provided by the Court, appear and plead guilty to count five of the
28   information in United States v. Gabriel Martin Reed, CR No. 17-310-
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1    PSG, which charges defendant with wire fraud in violation of 18

2    U.S.C. § 1343.

3               b.    Not contest facts agreed to in this agreement.

4               c.    Abide by all agreements regarding sentencing contained

5    in this agreement.

6               d.    Appear for all court appearances, surrender as ordered

7    for service of sentence, obey all conditions of any bond, and obey

8    any other ongoing court order in this matter.

9               e.    Not commit any crime; however, offenses that would be

10   excluded for sentencing purposes under United States Sentencing

11   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

12   within the scope of this agreement.

13              f.    Be truthful at all times with Pretrial Services, the

14   United States Probation Office, and the Court.

15              g.    Pay the applicable special assessment at or before the

16   time of sentencing unless defendant lacks the ability to pay and

17   prior to sentencing submits a completed financial statement on a form

18   to be provided by the USAO.

19              h.    Make restitution and not seek the discharge of any

20   restitution obligation, in whole or in part, in any present or future

21   bankruptcy proceeding.

22                              THE USAO’S OBLIGATIONS

23        3.    The USAO agrees to:
24              a.    Not contest facts agreed to in this agreement.
25              b.    Abide by all agreements regarding sentencing contained
26   in this agreement.
27              c.    At the time of sentencing, move to dismiss the
28   remaining counts of the information as against defendant.            Defendant

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1    agrees, however, that at the time of sentencing the Court may

2    consider any dismissed charges in determining the applicable

3    Sentencing Guidelines range, the propriety and extent of any

4    departure from that range, and the sentence to be imposed.

5                d.   At the time of sentencing, provided that defendant

6    demonstrates an acceptance of responsibility for the offense up to

7    and including the time of sentencing, recommend a two-level reduction

8    in the applicable Sentencing Guidelines offense level, pursuant to

9    U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an

10   additional one-level reduction if available under that section.

11               e.   Recommend that defendant be sentenced to a term of

12   imprisonment no higher than the low end of the applicable Sentencing

13   Guidelines range provided that the offense level used by the Court to

14   determine that range is 24 or higher and provided that the Court does

15   not depart downward in offense level or criminal history category.

16   For purposes of this agreement, the low end of the Sentencing

17   Guidelines range is that defined by the Sentencing Table in U.S.S.G.

18   Chapter 5, Part A.

19               f.   Not oppose defendant’s request for Court

20   recommendation of enrollment in the Residential Drug Abuse Program

21   (“RDAP”).

22                               NATURE OF THE OFFENSE

23        4.     Defendant understands that for defendant to be guilty of
24   the crime charged in count five, that is, wire fraud, in violation of
25   Title 18, United States Code, Section 1343, the following must be
26   true: (1) defendant knowingly devised a scheme or plan to defraud, or
27   a scheme or plan for obtaining money or property by means of false or
28   fraudulent pretenses, representations or promises; (2) the statements

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1    made or facts omitted as part of the scheme were material; that is,

2    they had a natural tendency to influence, or were capable of

3    influencing, a person to part with money or property; (3) defendant

4    acted with the intent to defraud, that is, the intent to deceive or

5    cheat; and (4) defendant used, or caused to be used, a wire

6    communication to carry out or attempt to carry out an essential part

7    of the scheme.

8                             PENALTIES AND RESTITUTION

9         5.    Defendant understands that the statutory maximum sentence
10   that the Court can impose for a violation of Title 18, United States
11   Code, section 1343, is:      a 20-year term of imprisonment, a 3-year
12   period of supervised release, a fine of $250,000 or twice the gross
13   gain or gross loss resulting from the offense, whichever is greatest;
14   and a mandatory special assessment of $100.
15        6.    Defendant understands that supervised release is a period
16   of time following imprisonment during which defendant will be subject
17   to various restrictions and requirements.         Defendant understands that
18   if defendant violates one or more of the conditions of any supervised
19   release imposed, defendant may be returned to prison for all or part
20   of the term of supervised release authorized by statute for the
21   offense that resulted in the term of supervised release, which could
22   result in defendant serving a total term of imprisonment greater than
23   the statutory maximum stated above.
24        7.    Defendant understands that defendant will be required to
25   pay full restitution to the victims of the offense to which defendant
26   is pleading guilty.     Defendant agrees that, in return for the USAO’s
27   compliance with its obligations under this agreement, the Court may
28   order restitution to persons other than the victims of the offenses

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1    to which defendant is pleading guilty and in amounts greater than

2    those alleged in the count to which defendant is pleading guilty.              In

3    particular, defendant agrees that the Court may order restitution to

4    any victim of any of the following for any losses suffered by that

5    victim as a result: (a) any relevant conduct, as defined in U.S.S.G.

6    § 1B1.3, in connection with the offense to which defendant is

7    pleading guilty; and (b) any counts dismissed pursuant to this

8    agreement as well as all relevant conduct, as defined in U.S.S.G.

9    § 1B1.3, in connection with those counts.

10        8.    Defendant understands that, by pleading guilty, defendant

11   may be giving up valuable government benefits and valuable civic

12   rights, such as the right to vote, the right to possess a firearm,

13   the right to hold office, and the right to serve on a jury.

14   Defendant understands that once the court accepts defendant’s guilty

15   plea, it will be a federal felony for defendant to possess a firearm

16   or ammunition.    Defendant understands that the conviction in this

17   case may also subject defendant to various other collateral

18   consequences, including but not limited to revocation of probation,

19   parole, or supervised release in another case and suspension or

20   revocation of a professional license.        Defendant understands that

21   unanticipated collateral consequences will not serve as grounds to

22   withdraw defendant’s guilty plea.

23        9.    Defendant understands that, if defendant is not a United

24   States citizen, the felony conviction in this case may subject

25   defendant to: removal, also known as deportation, which may, under

26   some circumstances, be mandatory; denial of citizenship; and denial

27   of admission to the United States in the future.          The court cannot,

28   and defendant’s attorney also may not be able to, advise defendant

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1    fully regarding the immigration consequences of the felony conviction

2    in this case.    Defendant understands that unexpected immigration

3    consequences will not serve as grounds to withdraw defendant’s guilty

4    plea.

5                                    FACTUAL BASIS

6         10.   Defendant admits that defendant is, in fact, guilty of the
7    offense to which defendant is agreeing to plead guilty.           Defendant
8    and the USAO agree to the statement of facts provided below and agree
9    that this statement of facts is sufficient to support a plea of
10   guilty to the charge described in this agreement and to establish the
11   Sentencing Guidelines factors set forth in paragraph 12 below but is
12   not meant to be a complete recitation of all facts relevant to the
13   underlying criminal conduct or all facts known to either party that
14   relate to that conduct.
15        Beginning at least in or about June 2008 and continuing to in or
16   around April 2017, in Los Angeles County, within the Central District
17   of California, and elsewhere, defendant, knowingly and with intent to
18   defraud, devised, participated in, and executed a scheme to defraud
19   investors, promoters, and performers who provided funds to defendant
20   in connection with musical concerts and World Wrestling Entertainment
21   events (collectively, the “victims”) as to material matters, and to
22   obtain money and property from such victims by means of material
23   false and fraudulent pretenses, representations, and promises, and
24   the concealment of material facts.
25        Specifically, through oral statements and written materials,
26   defendant induced the victims to provide defendant with funds in
27   connection with events defendant and his company Gabe Reed
28   Productions (“GRP”), which had, at times, been involved in promoting

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1    actual musical concerts, claimed to be promoting.          To obtain the

2    victims’ funds, defendant made representations that were false and

3    concealed material facts, including representations that: events were

4    scheduled to go forward; certain performers had agreed to participate

5    in those events; and the victims’ funds would be used to pay for

6    expenses in connection with the organization and promotion of those

7    events.    In truth and in fact, as defendant well knew, the

8    representations were false and concealed material facts because,

9    among other things: the events were never booked or defendant

10   intended to cancel the events in advance; the performers had not

11   agreed to participate in the events; and the victims’ funds would not

12   be used to organize and promote the events.         Rather, defendant used

13   the victims’ funds to pay his personal expenses, including payment of

14   his rent, utility bills, and travel expenses, which he failed to

15   disclose to the victims.      In reliance on defendant’s false

16   representations, the victims directed funds to defendant and GRP by

17   wire or check.    Defendant’s victims include, but were not limited to,

18   M.C., S.K., and I.F.

19        To execute his scheme to defraud, defendant used sophisticated

20   means, including, but not limited to, creating email addresses in the

21   names of other individuals and entities to convince his victims that

22   their funds were legitimately invested.        In addition, defendant

23   produced and distributed to victims fraudulent and fabricated artist

24   contracts, bank statements, and correspondence.

25        In furtherance of his scheme to defraud, defendant induced

26   victim M.C. to invest $100,000 with defendant in or around October

27   2015 for a “Titans of Rock” tour purportedly scheduled for March of

28   2016.     In order to secure the investment, defendant made material

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1    representations to M.C., including that the tour would include

2    several well-known performers and that M.C.’s investment would be

3    used to pay the performers.      In making these false representations,

4    defendant acted with the intent to defraud.         As an essential part of

5    the scheme, defendant caused M.C. to transfer, on or about October 6,

6    2015, $50,000 from a J.P. Morgan Chase account controlled by M.C. in

7    Beverly Hills, California, within the Central District of California,

8    by means of an interstate wire communication, to a Wells Fargo

9    Account ending in 6140 in the name of defendant.

10                                 SENTENCING FACTORS

11        11.   Defendant understands that in determining defendant’s
12   sentence the Court is required to calculate the applicable Sentencing
13   Guidelines range and to consider that range, possible departures
14   under the Sentencing Guidelines, and the other sentencing factors set
15   forth in 18 U.S.C. § 3553(a).       Defendant understands that the
16   Sentencing Guidelines are advisory only, that defendant cannot have
17   any expectation of receiving a sentence within the calculated
18   Sentencing Guidelines range, and that after considering the
19   Sentencing Guidelines and the other § 3553(a) factors, the Court will
20   be free to exercise its discretion to impose any sentence it finds
21   appropriate up to the maximum set by statute for the crime of
22   conviction.
23        12.   Defendant and the USAO agree to the following applicable
24   Sentencing Guidelines factors:
25    Base Offense Level:                      7               [U.S.S.G. § 2B1.1]
26    Specific Offense
      Characteristics
27
      Sophisticated Means                      +2      [U.S.S.G. § 2B1.1(b)(10)]
28

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1
     Defendant and the USAO reserve the right to argue that additional
2
     specific offense characteristics, adjustments, and departures under
3
     the Sentencing Guidelines are appropriate.
4
          13.   Defendant understands that there is no agreement as to
5
     defendant’s criminal history or criminal history category.
6
          14.   Defendant and the USAO reserve the right to argue for a
7
     sentence outside the sentencing range established by the Sentencing
8
     Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),
9
     (a)(2), (a)(3), (a)(6), and (a)(7).
10
                           WAIVER OF CONSTITUTIONAL RIGHTS
11
          15.   Defendant understands that by pleading guilty, defendant
12
     gives up the following rights:
13
                a.    The right to persist in a plea of not guilty.
14
                b.    The right to a speedy and public trial by jury.
15
                c.    The right to be represented by counsel –- and if
16
     necessary have the court appoint counsel -- at trial.           Defendant
17
     understands, however, that, defendant retains the right to be
18
     represented by counsel –- and if necessary have the court appoint
19
     counsel –- at every other stage of the proceeding.
20
                d.    The right to be presumed innocent and to have the
21
     burden of proof placed on the government to prove defendant guilty
22
     beyond a reasonable doubt.
23
                e.    The right to confront and cross-examine witnesses
24
     against defendant.
25
                f.    The right to testify and to present evidence in
26
     opposition to the charges, including the right to compel the
27
     attendance of witnesses to testify.
28

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1                g.    The right not to be compelled to testify, and, if

2    defendant chose not to testify or present evidence, to have that

3    choice not be used against defendant.

4                h.    Any and all rights to pursue any affirmative defenses,

5    Fourth Amendment or Fifth Amendment claims, and other pretrial

6    motions that have been filed or could be filed.

7                           WAIVER OF APPEAL OF CONVICTION

8          16.   Defendant understands that, with the exception of an appeal
9    based on a claim that defendant’s guilty plea was involuntary, by
10   pleading guilty defendant is waiving and giving up any right to
11   appeal defendant’s conviction on the offense to which defendant is
12   pleading guilty.
13                    LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE
14         17.   Defendant agrees that, provided the Court imposes a total
15   term of imprisonment on all counts of conviction of no more than 71
16   months, defendant gives up the right to appeal all of the following:
17   (a) the procedures and calculations used to determine and impose any
18   portion of the sentence; (b) the term of imprisonment imposed by the
19   Court; (c) the fine imposed by the court, provided it is within the
20   statutory maximum; (d) the term of probation or supervised release
21   imposed by the Court, provided it is within the statutory maximum;
22   and (e) any of the following conditions of probation or supervised
23   release imposed by the Court: the conditions set forth in General
24   Orders 318, 01-05, and/or 05-02 of this Court; the drug testing
25   conditions mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d).
26         18.   The USAO agrees that, provided (a) all portions of the
27   sentence are at or below the statutory maximum specified above and
28   (b) the Court imposes a term of imprisonment of no less than 57

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1    months, the USAO gives up its right to appeal any portion of the

2    sentence, with the exception that the USAO reserves the right to

3    appeal the amount of restitution ordered.

4                        RESULT OF WITHDRAWAL OF GUILTY PLEA

5          19.   Defendant agrees that if, after entering a guilty plea
6    pursuant to this agreement, defendant seeks to withdraw and succeeds
7    in withdrawing defendant’s guilty plea on any basis other than a
8    claim and finding that entry into this plea agreement was
9    involuntary, then (a) the USAO will be relieved of all of its
10   obligations under this agreement; and (b) should the USAO choose to
11   pursue any charge that was either dismissed or not filed as a result
12   of this agreement, then (i) any applicable statute of limitations
13   will be tolled between the date of defendant’s signing of this
14   agreement and the filing commencing any such action; and
15   (ii) defendant waives and gives up all defenses based on the statute
16   of limitations, any claim of pre-indictment delay, or any speedy
17   trial claim with respect to any such action, except to the extent
18   that such defenses existed as of the date of defendant’s signing this
19   agreement.
20                    RESULT OF VACATUR, REVERSAL OR SET-ASIDE
21         20.   Defendant agrees that if the count of conviction is
22   vacated, reversed, or set aside, both the USAO and defendant will be
23   released from all their obligations under this agreement.
24                            EFFECTIVE DATE OF AGREEMENT
25         21.   This agreement is effective upon signature and execution of
26   all required certifications by defendant, defendant’s counsel, and an
27   Assistant United States Attorney.
28

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1                                 BREACH OF AGREEMENT

2          22.   Defendant agrees that if defendant, at any time after the
3    effective date of this agreement, knowingly violates or fails to
4    perform any of defendant’s obligations under this agreement (“a
5    breach”), the USAO may declare this agreement breached.            All of
6    defendant’s obligations are material, a single breach of this
7    agreement is sufficient for the USAO to declare a breach, and
8    defendant shall not be deemed to have cured a breach without the
9    express agreement of the USAO in writing.         If the USAO declares this
10   agreement breached, and the Court finds such a breach to have
11   occurred, then: (a) if defendant has previously entered a guilty plea
12   pursuant to this agreement, defendant will not be able to withdraw
13   the guilty plea, and (b) the USAO will be relieved of all its
14   obligations under this agreement.
15         23.   Following the Court’s finding of a knowing breach of this
16   agreement by defendant, should the USAO choose to pursue any charge
17   that was either dismissed or not filed as a result of this agreement,
18   then:
19               a.    Defendant agrees that any applicable statute of
20   limitations is tolled between the date of defendant’s signing of this
21   agreement and the filing commencing any such action.
22               b.    Defendant waives and gives up all defenses based on
23   the statute of limitations, any claim of pre-indictment delay, or any
24   speedy trial claim with respect to any such action, except to the
25   extent that such defenses existed as of the date of defendant’s
26   signing this agreement.
27               c.    Defendant agrees that: (i) any statements made by
28   defendant, under oath, at the guilty plea hearing (if such a hearing

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1    occurred prior to the breach); (ii) the agreed to factual basis

2    statement in this agreement; and (iii) any evidence derived from such

3    statements, shall be admissible against defendant in any such action

4    against defendant, and defendant waives and gives up any claim under

5    the United States Constitution, any statute, Rule 410 of the Federal

6    Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

7    Procedure, or any other federal rule, that the statements or any

8    evidence derived from the statements should be suppressed or are

9    inadmissible.

10                     COURT AND PROBATION OFFICE NOT PARTIES

11         24.   Defendant understands that the Court and the United States
12   Probation Office are not parties to this agreement and need not
13   accept any of the USAO’s sentencing recommendations or the parties’
14   agreements to facts or sentencing factors.
15         25.   Defendant understands that both defendant and the USAO are
16   free to: (a) supplement the facts by supplying relevant information
17   to the United States Probation Office and the Court, (b) correct any
18   and all factual misstatements relating to the Court’s Sentencing
19   Guidelines calculations and determination of sentence, and (c) argue
20   on appeal and collateral review that the Court’s Sentencing
21   Guidelines calculations and the sentence it chooses to impose are not
22   error, although each party agrees to maintain its view that the
23   calculations in paragraph 12 are consistent with the facts of this
24   case.   While this paragraph permits both the USAO and defendant to
25   submit full and complete factual information to the United States
26   Probation Office and the Court, even if that factual information may
27   be viewed as inconsistent with the facts agreed to in this agreement,
28

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1    this paragraph does not affect defendant’s and the USAO’s obligations

2    not to contest the facts agreed to in this agreement.

3          26.   Defendant understands that even if the Court ignores any

4    sentencing recommendation, finds facts or reaches conclusions

5    different from those agreed to, and/or imposes any sentence up to the

6    maximum established by statute, defendant cannot, for that reason,

7    withdraw defendant’s guilty plea, and defendant will remain bound to

8    fulfill all defendant’s obligations under this agreement.            Defendant

9    understands that no one –- not the prosecutor, defendant’s attorney,

10   or the Court –- can make a binding prediction or promise regarding

11   the sentence defendant will receive, except that it will be within

12   the statutory maximum.

13                              NO ADDITIONAL AGREEMENTS

14         27.   Defendant understands that, except as set forth herein,
15   there are no promises, understandings, or agreements between the USAO
16   and defendant or defendant’s attorney, and that no additional
17   promise, understanding, or agreement may be entered into unless in a
18   writing signed by all parties or on the record in court.
19   //
20   //
21

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